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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA
                                                                                  Filed/Docketed
IN RE:                                         )
                                               )                                  May 01, 2019
Ragon Boyd Steele, and Tina Michelle           )   Case No.     19-10398-M
Steele, fka Tina Michell Long,                 )   Chapter      7
                                               )
                       DEBTORS.                )

               ORDER GRANTING MOTION FOR ABANDONMENT AND
                       RELIEF FROM AUTOMATIC STAY

       This Court, upon review of the Request for Entry of Order filed herein by Bank of

America, N.A., and the pleadings on file in this case, finds as follows:

       1.      Bank of America, N.A. filed its Motion for Abandonment, Relief from the

Automatic Stay (Real Property) and Notice of Opportunity for Hearing (the “Motion”) on April

15, 2019, regarding the real property described as:

                THE WEST 46 FEET OF THE EAST 175 FEET OF THE
                SOUTH 100 FEET OF LOT TEN (10), DANIELS
                ADDITION,      DEWEY, WASHINGTON      COUNTY,
                OKLAHOMA, commonly known as 301 and 301-1/2 West
                9th, Dewey, OK 74029,

(the “Property”).

       2.      The Motion was mailed to the official mailing matrix which includes the Debtors,

their counsel and the Trustee on April 15, 2019, as indicated by the Certificate of Mailing

attached to the Motion.

       3.      The Motion set forth the time for filing an objection to the Motion and no

objections have been filed.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court that all

interest the Trustee may have in and to the Property is hereby abandoned.
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       IT IS FURTHER ORDERED, ADJUDGED AND DECREED by the Court that the

stay imposed by 11 U.S.C. Section 362 is hereby modified and Bank of America, N.A. is entitled

to pursue its remedies against the Property.

       DATED this 1st day of May, 2019.

                                                       BY THE COURT:



                                                      TERRENCE L. MICHAEL
                                                      UNITED STATES BANKRUPTCY JUDGE

Submitted by:

s/ Adam Fiegel         ______
Brian J. Rayment, OBA #7441
Adam Fiegel, OBA #33169
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ATTORNEYS FOR CREDITOR




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